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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             )   No. 01-cr-40066-008-JPG
                                                )
MCKENZIE L. GAMMONS,                            )
                                                )
       Defendant.                               )

                              MEMORANDUM AND ORDER

       This matter comes before the Court on consideration of defendant McKenzie L.

Gammons’ prospects for a reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2)

and United States Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.10. The Court appointed

counsel for Gammons, and counsel has moved to withdraw on the basis that she can make no

non-frivolous arguments in support of the defendant’s request (Doc. 366). See Anders v.

California, 386 U.S. 738, 744 (1967). The government has responded to the motion (Doc. 372).

Gammons has not responded, although the Court gave him an opportunity to do so.

       Gammons pled guilty to one count of conspiracy to distribute and possess with intent to

distribute more than 50 grams of crack cocaine. At sentencing, the Court found by a

preponderance of the evidence that Gammons’ relevant conduct was at least 500 grams but less

than 1.5 kilograms of crack cocaine, which at the time under U.S.S.G. § 2D1.1 yielded a base

offense level of 36. His offense level was reduced by three points under U.S.S.G. § 3E1.1 for

acceptance of responsibility. Considering Gammons’ criminal history category of IV, this

yielded a sentencing range of 188 to 235 months in prison. However, because the government

had filed an enhancement pursuant to 21 U.S.C. § 851, Gammons’ statutory minimum sentence

was 20 years. See 21 U.S.C. § 841(b)(1)(A). Consequently, pursuant to U.S.S.G. § 5G1.1(b),
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his guideline sentence became 240 months. Gammons now asks the Court to apply recent

changes to U.S.S.G. § 2D1.1 to lower his sentence.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied, 129 S. Ct. 2817 (2009).

       Gammons cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

levels associated with various amounts of crack cocaine. The Sentencing Commission amended

U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. The amendments did not, however, reduce the sentencing

range of defendants whose minimum guideline sentence was determined under U.S.S.G. §


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5G1.1(b) based on a statutory minimum rather than under U.S.S.G. § 2D1.1 based on relevant

conduct amounts. See Forman, 553 F.3d at 588 (“Nothing in § 3582(c)(2) permits a court to

reduce a sentence below the mandatory minimum.”). Because Gammons was sentenced based

on his statutory minimum sentence in accordance with U.S.S.G. § 5G1.1(b), not his base offense

level set forth in U.S.S.G. § 2D1.1, under the old and amended guidelines, his guideline sentence

would have been 240 months. Thus, the amendments did not lower his guideline range, and he

cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence reduction.

       Because Gammons cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction, the Court does not have subject matter jurisdiction to consider

his reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

therefore GRANTS counsel’s motion to withdraw (Doc. 366). The Clerk is DIRECTED to

mail a copy of this order to defendant McKenzie L. Gammons, Reg. No. 05355-025, FCI Forrest

City, P.O. Box 9000, Forrest City, AR 72336.

IT IS SO ORDERED.
Dated this 15th day of April, 2010.


                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              U.S. DISTRICT JUDGE




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